                 Case 20-66885-lrc                  Doc 20           Filed 06/17/20 Entered 06/17/20 10:50:37                               Desc Main
                                                                     Document      Page 1 of 9
     Fill in this information to identify the case:




     United States Bankruptcy Court for the:

     Case number (If known):        O - 6 6,5 0-                                                                                                    Check if this is an
                                                                                                                                                    amended filing



 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property                                                                                                              12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
 no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
 leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
 additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


=I              Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

      ar" No. Go to Part 2.
              Yes. Fill in the information below.

        All cash or cash                                  controlledbY,the;..debter                                                          Current value of debtor's
                                                                                                                                            interest

 2. Cash on hand

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of instinon ank or brokerage firm)                           Tyke=unt                   Last 4 ijOts;:.:..,f, Is,kiunt number
       3.1.  LihelU                                                                                        ‘o
                                                                                                           ''•    .      T                  $          L12/
       3.2.


 4. Other cash equivalents (Identify all)
       4.1.
       4.2.

 5. Total of Part 1
                                                                                                                                            $      gy2 o
      Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2:         Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

      1:1 No. Go to Part 3.
       CI Yes. Fill in the information below.
                                                                                                                                                DUrrerik,value:Of.
                                                                                                                                                debtor's interest
 7. Deposits, including security deposits and utility deposits
       Description, Including name of holder of deposit
       7.1.
       7.2.



      Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                        page 1
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Debtor
                                                            Document      Page 2 ofCase
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8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

   Description, including name of holder of prepayment
   8.1.
   8.2

9. Total of Part 2.
   Add lines 7 through 8. Copy the total to line 81.



Part 3:       Accounts receivable

10. Does the debtor have any accounts receivable?

     a<o. Go to Part 4.
     0 Yes. Fill in the information below.
                                                                                                                                      Current value of debtors
                                                                                                                                      interest

11. Accounts receivable

    11a. 90 days old or less:                                                                            =
                                   face amount                     doubtful or uncollectible accounts

    11b. Over 90 days old:                                                                               =      4
                                   face amount                      doubtful or uncollectible accounts


12. Total of Part 3
     Current value on lines 11a + llb = line 12. Copy the total to line 82.



Part 4:       Investments

13. Does        e debtor own any investments?
            No. Go to Part 5.

     CI Yes. Fill in the information below.
                                                                                                             Valuation method         Current value   debtor's
                                                                                                             used for current value   Interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1.
    14.2.




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                   % of ownership:

    15.1.
    15.2.


16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1

    Describe:
    16.1.
    16.2.




 17. Total of Part 4
     Add lines 14 through 16. Copy the total to line 83.



  Official Form 206A/B                                       Schedule A/B: Assets —Real and Personal Property                                     page 2
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                                                                            9 number (if known)
Debtor              (\
                 Name
                         (‘'‘     (N)

Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    21‹. Go to Part 6.
    U Yes. Fill in the information below.

     General                                        Date of the last     Net book value              Valuation method        zueildeit4alfia
                                                    physical inventory   debtor's. interest                        ,         debtor's interest
                                                                         (Whore.: available).
19. Raw materials

                                                    MM/DD/YYYY

20. Work in progress

                                                    MM/DD/YYYY


21. Finished goods, including goods held for resale

                                                    MM/DD/YYYY

22. Other inventory or supplies

                                                    MM /DD/YYYY



24. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    UVRIo
    U      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    V      No
    U      Yes. Book value                        Valuation method                              Current value

26. Hasy of the property listed in Part 5 been appraised by a professional within the last year?
           No
    U      Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27. Doe3„the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    allo. Go to Part 7.
    U Yes. Fill in the information below.

         General description                                              Net book value of          Valuation method used
                                                                          debtor's interest          for current value
                                                                          (Where available)
28. Crops—either planted or harvested


29. Farm animals Examples: Livestock, poultry, farm-raised fish



30. Farm machinery and equipment (Other than titled motor vehicles)



31. Farm and fishing supplies, chemicals, and feed



32. Other farming and fishing-related property not already listed in Part 6




 Official Form 206A/B                                     Schedule A/B: Assets—Real and Personal Property                                page 3
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Debtor                   ovv\N                 Soas-tk.


33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

         <---
          H
          o
    D Yes. Is any of the debtor's property stored at the cooperative?
           D    No
                Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    13 N,
    0 Yes. Book value $                      Valuation method                         Current value $

36. Is a depreciation schedule available for any of the property listed in Part 6?

    Eric,
    El Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


     U Yes

Part 7:        Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     la<lo-. Go to Part 8.
     D Yes. Fill in the information below.

    General description                                                       Net book value of         Valuation method         Current value of debtor's
                                                                              debtor's interest         used for current value   interest
                                                                              (Where available)

39. Office furniture



40. Office fixtures



41. Office equipment, including all computer equipment and
    communication systems equipment and software


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
    42.1
    42.2
    42.3

43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     LrIrlo
     U Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

           No
     1:1 Yes

  Official Form 206A/B                                      Schedule A/B: Assets —Real and Personal Property                                 page 4
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Debtor
                 Name         k   V- 4   °I   r-CdVIPM_   'LAIL                                       (if known)




Part 8: Machinery, equipment, and vehicles


46. Does th       ebtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
    U Yes. Fill in the information below.


   General description                                                     Net book value of       Valuation method used   Current value
                                                                           debtor's interest       for current value       leltifoetititettif
   include.year,-makemodel,:and identification-numbers•:(i;e4
                                           •                               (Wbete.:!aVaileble)7"
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1

   47.2

   47.3

   47.4


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1

   48.2

49. Aircraft and accessories

   49.1

   49.2

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)




51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.



52. Is ar ciepreciation schedule available for any of the property listed in Part 8?
     a     No
     U     Yes

53. Farly of the property listed in Part 8 been appraised by a professional within the last year?
           No
     U     Yes




 Official Form 206A/B                                     Schedule A/B: Assets —Real and Personal Property                             page 5
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Part 9:     Real property

54. Does the debtor own or lease any real property?
    1:1 No. Go to Part 10.
          Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
                                                                                             book       of
    Description and location of property                          Nature and extent
                                                                  of debtor's            Net
                                                                                         debtor's value        valuation method used      C
                                                                                                                                          d ubrtren
                                                                                                                                                  et viaitue oft
    lhdude street address or Other description such                           interest           interest      for current value           e o s n eres
    Assessor Parcel Number                                        In
    04 r                                                                                 (Where available)
         example, ac
                  acreage, efarc(tA0P         Tile,o apartment
                                         warehouse,
                                    ryiNnw'          ppawrram:riy
                                                            ent      Property
    Or nice building), if available '                                                                             N               j
    55.1     //'O      M S I]1 16(23Q-Sk          /32 I s I'Z                                                         opro‘5Lj            $       )
                                                                                                                                                      (f     I(
                                                                                                                         l
    55.2    ILI /.6 (:)nx.,1i \T iA\i-'23°''-)     /5 E K $ '1 ';                                                     21 /h.—             $      1 q C----   k-
                                 /                                                                                                                'us
    55.3 10q- 0 LA'l   d-R- 0 CAL SO S            3( K. $ S zcic-                                                (Q,A,,,,ps               $

    55.4     t C( f cA -U SS iii/ e- 3(Akil-    9.( I( $ 3 f ()                                                                           $       ? )7 S (C.
    55.5  fal-13 [0,,,4-0,1 i        'St.---1 ) 6514- $ L13 c                                                   .C.°C"A
                                                                                                                     o+A-!sp..s           $

    55.6 liq So1/4L-7 0               luvi)---   7
                                                6 'i- IC- $
56. Total of Part 9.
                                                                                                                                           $
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    Li     No
    Li     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    Li     No
    Li     Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    I:Ko. Go to Part 11.
    Li Yes. Fill in the information below.

      General description                                                                Net book value of .   Valtiatidifilibetfiad]„.       cOlitentV01-4C0
                                                                                         debtor's interest     used for current value         debtor's linterest
                                                                                         (Where available)
60. Patents, copyrights, trademarks, and trade secrets


61. Internet domain names and websites


62. Licenses, franchises, and royalties


63. Customer lists, mailing lists, or other compilations


64. Other intangibles, or intellectual property

65. Goodwill


66. Total of Part 10.
     Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                                 Schedule A/B: Assets—Real and Personal Property                                      page 6
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                                                                                      9 number or known)
                  Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    _,....-
    LI No
      0    Yes
68. Is th,re an amortization or other similar schedule available for any of the property listed in Part 10?
      2r No
      LI   Yes
69.        any of the property listed in Part 10 been appraised by a professional within the last year?
       7   No
      CI   Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
      Include ll interests in executory contracts and unexpired leases not previously reported on this form.
           No. Go to Part 12.
      0    Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor's interest
71. Notes receivable
    Description (include name of obligor)
                                                                                                                              =4   $
                                                                      Total face amount    doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

      Description (for example, federal, state, local)

                                                                                                          Tax year
                                                                                                          Tax year
                                                                                                          Tax year

73. Interests in insurance policies or annuities


74. Causes of action against third parties (whether or not a lawsuit
    has been filed)


      Nature of claim
      Amount requested

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims


      Nature of claim
      Amount requested

76. Trusts, equitable or future interests in property


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership




78. Total of Part 11.
      Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
      L-.1 No
      CI    Yes

 Official Form 206A/B                                        Schedule PUB: Assets—Real and Personal Property                                   page 7
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              Name




Part 12:     Summary



In Part 12 copy all of the totals from the earlier parts of the form.



     TYP6 of ProPer:W.                                                         Current value of           Current value
                                                                               personal property          of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.              gql0


81. Deposits and prepayments. Copy line 9, Part 2.


 82. Accounts receivable. Copy line 12, Part 3.


 83. Investments. Copy line 17, Part 4.
                                                                                      ts)
 84. Inventory. Copy line 23, Part 5.

 85. Farming and fishing-related assets. Copy line 33, Part 6.

 86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

 88. Real property. Copy line 56, Part 9.

 89. Intangibles and intellectual property. Copy line 66, Part 10.

 90. All other assets. Copy line 78, Part 11.


 91. Total. Add lines 80 through 90 for each column                     91a.                       91b.




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.                                                            $




 Official Form 206A/B                                      Schedule A/B: Assets — Real and Personal Property                     page 8
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                                                           Document      Page 9 of 9
 Fill in this information to identify the case and this filing:


 Debtor Name                          c0          S01/4 Af A 71,14                  -
 United States Bankruptcy Court for the:                            District of
                                                                                  (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         (=V.-Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

         Er --Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         Va"---Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         Er —Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          ZI<Schedule H: Codebtors (Official Form 206H)

          ar   Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          CI   Amended Schedule


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
          Ur ---


               Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on       OC-
                           MM/ DD / YYYY
                                                            x         LZU
                                                                  Signature of individual signing on behalf of debtor



                                                                  11   9 Ai
                                                                  Printed name
                                                                                                  /1./   f ot



                                                                       ,    1

                                                                  Position or relationship to debtor



 Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
